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     UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



Everett McKinley Dirksen United States Courthouse                              Office of the Clerk
        Room 2722 - 219 S. Dearborn Street                                    Phone: (312) 435-5850
             Chicago, Illinois 60604                                          www.ca7.uscourts.gov




                                                    FINAL JUDGMENT
 April 27, 2015


    Before:                             FRANK H. EASTERBROOK, Circuit Judge
                                        DANIEL A. MANION, Circuit Judge
                                        ANN CLAIRE WILLIAMS, Circuit Judge




                                         ARIE S. FRIEDMAN, et al.,
                                         Plaintiffs - Appellants

 No. 14-3091                             v.

                                         CITY OF HIGHLAND PARK,
                                         Defendant - Appellee

  Originating Case Information:

 District Court No: 1:13-cv-09073
 Northern District of Illinois, Eastern Division
 District Judge John W. Darrah



The judgment of the District Court is AFFIRMED, with costs, in accordance with the decision
of this court entered on this date.

 form name: c7_FinalJudgment(form ID: 132)
